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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK
                                                                            )
In re:                                                                      )
                                                                            )   Case Nos.
CENTERSTONE LINEN SERVICES, LLC,                                            )   18-31754 (main case)
ATLAS HEALTH CARE LINEN SERVICES CO., LLC,                                  )   18-31753
ALLIANCE LAUNDRY & TEXTILE SERVICE, LLC,                                    )   18-31755
ALLIANCE LAUNDRY AND TEXTILE SERVICE OF                                     )   18-31756
ATLANTA, LLC, and                                                           )
ALLIANCE LTS WINCHESTER, LLC                                                )   18-31757
d/b/a Clarus Linen Systems1,                                                )
                                                                            )   Chapter 11 Cases
                                                     Debtors.               )   Jointly Administered
                                                                            )
                                                                            )


                         NOTICE OF ASSUMPTION AND ASSIGNMENT


PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.     On January 15, 2019, the United States Bankruptcy Court for the Northern
District of New York (the “Bankruptcy Court”) entered an order (the “Bidding Procedures
Order”),2 approving, among other things, the fixing of cure amounts (the “Cure Amounts”)
related to the potential assumption, assignment and/or transfer by Alliance Laundry & Textile
Services, LLC, d/b/a Clarus Linen Systems (“Alliance”) of certain executory contracts,
unexpired leases, and other agreements (the “Assigned Contracts”) listed on Exhibit A annexed
hereto in connection with the proposed sale of certain of Alliance’s assets (the “Purchased
Assets”). Alliance intends to assume, assign, and/or transfer some or all of the Assigned
Contracts to the Successful Bidder or Backup Bidder for the Purchased Assets as determined
pursuant to the bidding procedures (the “Bidding Procedures”) approved by the Bankruptcy
Court and attached to the Bidding Procedures Order as Schedule 1.

        2.    Alliance believes that any and all defaults (other than the filing of these Chapter
11 Cases) and actual pecuniary losses under the Assigned Contracts can be cured by the payment
of the Cure Amounts listed on Exhibit A annexed hereto.

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Centerstone Linen Services, LLC d/b/a Clarus Linen Systems (5594) (“Centerstone”); Atlas Health
Care Linen Services Co., LLC d/b/a Clarus Linen Systems (2681) (“Atlas”); Alliance Laundry & Textile Service,
LLC d/b/a Clarus Linen Systems (8284) (“Alliance”); Alliance Laundry and Textile Service of Atlanta, LLC d/b/a
Clarus Linen Systems (4065) (“Atlanta”); and Alliance LTS Winchester, LLC d/b/a Clarus Linen Systems (0892)
(“Winchester”).
2
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Bidding
Procedures Order.

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       3.      Any objections to (i) the assumption, assignment or transfer of an Assigned
Contract, or (ii) the amount asserted as the Cure Amount (each, a “Cure Amount/Assignment
Objection”), must be in writing and set forth with specificity the nature of the objection and the
cure amount that the objecting party believes should be paid in connection with the assumption
of the Assigned Contract (the “Claimed Cure Amount”). In addition, if Alliance identifies
additional Assigned Contracts that might be assumed by Alliance and assigned to the Successful
Bidder or Backup Bidder which are not set forth in this Notice of Assumption and Assignment,
Alliance shall promptly send a supplemental notice (a “Supplemental Notice of Assumption and
Assignment”) to the applicable counterparties to such additional Assigned Contracts.

        4.     To be considered a timely Cure Amount/Assignment Objection, a Cure
Amount/Assignment Objection must be filed with the Bankruptcy Court and served upon
(i) counsel to Alliance; (ii) the Office of the United States Trustee for the Northern District of
New York; (iii) counsel for HSBC Bank; (iv) counsel to Purchaser; and (v) counsel to the
Official Committee of Unsecured Creditors, by the later of (a) 4:00 p.m. (prevailing Eastern
time) on February 6, 2019 or (b) five (5) days after service of the relevant Supplemental Notice
of Assumption and Assignment.

        5.    If a Cure Amount/Assignment Objection is timely filed, Alliance may resolve any
Cure Amount/Assignment Objection by mutual agreement with the objecting counterparty to any
Assigned Contract without further order of the Court. Alliance may also file a written response
to the Cure Amount/Assignment Objection with the Bankruptcy Court no later than 4:00 p.m.
(prevailing Eastern time) on February 8, 2019. In the event that Alliance and any objecting
party are unable to consensually resolve any Cure Amount/Assignment Objection, the
Bankruptcy Court will resolve any such Cure Amount/Assignment Objection at a hearing to be
held at 12:00 p.m. (prevailing Eastern time) on February 13, 2019 or such later date as the
Court may determine.

        6.     Unless a Cure Amount/Assignment Objection is timely filed and served, the
assumption, assignment and/or transfer of the Assigned Contracts may proceed without further
notice to counterparties to the Assigned Contracts.

        7.     Parties that fail to file and serve timely Cure Amount/Assignment Objections
shall be deemed to have waived and released any and all rights to assert against Alliance, the
Successful Bidder or Backup Bidder cure amounts different from the Cure Amounts listed on
Exhibit A hereto and shall be forever barred and estopped from asserting or claiming against
Alliance, the Successful Bidder or Backup Bidder, or any assignee of any Assigned Contract that
any additional amounts are due or defaults exist, or prohibitions or conditions to assignment exist
or must be satisfied, under such Assigned Contract.

        8.     To the extent that a Cure Amount/Assignment Objection remains unresolved as of
the Bid Deadline, and the Bankruptcy Court subsequently determines that the Cure Amount for
the subject Assigned Contract is greater than that set forth in the Cure Amounts identified on
Exhibit A hereto, the Successful Bidder may elect to reclassify such Assigned Contract as an
Excluded Agreement at any time prior to the earlier to occur of the Closing or the day that is five
(5) business days following such determination by the Bankruptcy Court.


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        9.     The Successful Bidder or the Backup Bidder, as the case may be, may determine
to exclude any Assigned Contract from the Purchased Assets to be assumed and sold or assigned
at any time prior to the Sale Hearing. The non-debtor party or parties to any such excluded
contract or lease will be notified of such exclusion by written notice mailed within three (3)
business days following the conclusion of the Sale Hearing.

        10.    If no Cure Amounts are due under an Assigned Contract, or the non-debtor party
to the Assigned Contract does not otherwise object to Alliance’s assumption, assignment and/or
transfer of the Assigned Contract, no further action needs to be taken on the part of that non-
debtor party.

       11.     Alliance’s decision to sell, assign and/or transfer to the Successful Bidder or
Backup Bidder the Assigned Contracts is subject to Bankruptcy Court approval and the closing
of the sale of the Purchased Assets. Accordingly, absent such closing, none of the Assigned
Contracts shall be deemed to be assumed, sold, assigned and/or transferred, and shall in all
respects be subject to further administration under the Bankruptcy Code. The inclusion of any
document on the list of Assigned Contracts shall not constitute or be deemed to be a
determination or admission that such document is, in fact, an executory contract or unexpired
lease within the meaning of the Bankruptcy Code (all rights with respect thereto being expressly
reserved).

       12.     This notice is subject to the fuller terms and conditions of the Bidding Procedures
Order which shall control in the event of any conflict and Alliance encourages parties in interest
to review that document in its entirety. Parties interested in receiving more information
regarding the sale of the Purchased Assets or obtaining a copy of the Bidding Procedures Order
may make a written request to counsel to the Debtors. In addition, copies of the Bidding
Procedures Order and this notice can be found on the Bankruptcy Court’s electronic case
management website, http://ecf.nywb.uscourts.gov and are on file with the Clerk of the
Bankruptcy Court.

Dated:   January 16, 2019
         Syracuse, New York                  BOND, SCHOENECK & KING, PLLC

                                     By:             /s/ Camille W. Hill
                                             Stephen A. Donato, Bar Roll No. 101522
                                             Camille W. Hill, Bar Roll No. 501876
                                             Office and Post Office Address:
                                             One Lincoln Center
                                             Syracuse, New York 13202
                                             Tel: (315) 218-8000
                                             Fax: (315) 218-8100
                                             Email: sdonato@bsk.com
                                                      chill@bsk.com
                                             Proposed Counsel to the Debtors and Debtors in
                                             Possession




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                                        Exhibit A

                         To Notice of Assumption and Assignment

                                  [Assigned Contracts]

Contract                                                          Cure Amount

1.    Linen Service Agreement with Houston Hospitals, Inc.        $0.00
      d/b/a Houston Healthcare dated September 1, 2018




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